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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                     NO. 4:14CR00010-01 JLH

STEPHEN MARK WARE                                                                     DEFENDANT

                                              ORDER

       Defendant Stephen Mark Ware previously filed a motion for psychiatric or psychological

examination in this matter. The motion was granted. The United States Marshal for the Eastern

District of Arkansas has informed the Court that Stephen Mark Ware has been designated to FCI

Fort Worth, in Fort Worth, Texas, for the examination. The facility is located at 3150 Horton Road,

in Fort Worth, Texas, phone number (817) 534-8400. The defendant is currently on pretrial release

and will be allowed to self-report to the facility. The defendant must self-surrender to the FCI

Fort Worth facility by 2:00 P.M. CST, on TUESDAY, JULY 1, 2014.

       Pursuant to 18 U.S.C. § 4247(b) and (c), Stephen Mark Ware shall be remanded to the

custody of the Attorney General or his authorized representative for a period not to exceed forty-five

(45) days for a psychiatric or psychological examination pursuant to 18 U.S.C. § 4242 and for a

period not to exceed thirty (30) days for a psychiatric or psychological examination pursuant to

18 U.S.C. § 4241; and that unless impracticable, the psychiatric or psychological examination shall

be conducted in a suitable facility closest to the Court.

       Pursuant to 18 U.S.C. § 4247(c), the person conducting the examination must file a report

with this Court with copies to counsel for the United States, Assistant United States Attorney Anne

Gardner, Post Office Box 1229, Little Rock, Arkansas, 72203, and to counsel for the defendant, Ms.

Leslie Borgognoni, Attorney at Law, 424 East Sixth Street, Little Rock, Arkansas, 72202.
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        The report must state whether Stephen Mark Ware is suffering from a mental disease or

defect that renders him mentally incompetent to the extent that he is unable to understand the nature

and consequences of the proceedings against him or to assist properly in his defense; whether he was

insane at the time of the offense; and, if he was insane, whether his release would create a substantial

risk of bodily injury to another person or serious damage to property of another person.

        Upon completion of the evaluation at FCI Fort Worth, the Warden must allow defendant to

leave the facility and return home by his own means. Once released from the custody of the

Warden, defendant will be subject to the same conditions of pretrial release as previously imposed

by United States Magistrate Judge Jerome Kearney on January 14, 2014.

        Fourteen (14) days from the date the examination report is received by the Court and the

parties, any party who requests a hearing regarding any issues in the report or opposes the report

must file a motion for hearing or a motion in opposition, including a concise statement of opposition

to the report and supporting authorities. If no motions are filed within fourteen (14) days, the Court

will enter an Order adopting or rejecting the conclusions set forth in the report, and the period of

excludable delay will end.1

        IT IS THEREFORE ORDERED that the delay occasioned by the examination ordered herein

shall be excludable under the provisions of the Speedy Trial Act as provided by 18 U.S.C.

§ 3161(h)(1)(A).

        IT IS SO ORDERED this 3rd day of June, 2014.




                                                        J. LEON HOLMES
                                                        UNITED STATES DISTRICT JUDGE



        1
            18 U.S.C. § 3161(h)(1)(A).
